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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1043V
                                      Filed: August 6, 2018

    * * * * * * * * * * * * * *                     *
    LANESIA SHEA, mother and next friend            *       UNPUBLISHED
    of A.S., a minor                                *
                                                    *
                 Petitioner,                        *       Decision on Attorneys’ Fees and Costs
    v.                                              *
                                                    *
    SECRETARY OF HEALTH                             *
    AND HUMAN SERVICES,                             *
                                                    *
             Respondent.                            *
    * * * * * * * * * * * * *                  *    *

Richard Gage, Esq., Richard Gage, P.C., Cheyenne, WY, for petitioner.
Claudia Gangi, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

        On August 23, 2016, Lanesia Shea (“Ms. Shea,” or “petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program2 on behalf of her minor
child, A.S. Petitioner alleges that A.S. developed optic neuritis as a result of receiving an influenza
vaccination on or about September 19, 2014. See Petition (“Pet.”), ECF No. 1. On December 1,
2017, the undersigned issued a Decision awarding compensation to petitioner based on the parties’
stipulations. See Decision, ECF No. 26.

1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).


                                                        1
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        On June 1, 2018, petitioner filed a Motion for Attorneys’ Fees and Costs. Motion for Fees,
ECF No. 32. Petitioner requests attorneys’ fees in the amount of $15,831.50 and attorneys’ costs
in the amount of $1,167.80 for a total amount of $16,999.30. Id. at 4. In accordance with General
Order #9, petitioner’s counsel represents that petitioner incurred $3,157.21 in out-of-pocket
expenses. Id. Petitioner later amended her request, increasing it to $4,083.83. See ECF No. 35-2.

        On June 21, 2018 respondent filed out-of-time response to petitioners’ Motion for Fees.
Response, ECF No. 33-1. Respondent provided no specific objection to the amount requested or
hours worked, but instead, “respectfully recommend[ed] that the Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

       The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
§ 15(e)(1). Based on the reasonableness of the overall sum of petitioner’s request,3 the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total of $21,083.134 as follows:

       $4,083.83 representing reimbursement for out-of-pocket expenses, in the form of a check
        made payable solely to petitioner, Lanesia Shea; and

       $16,999.30 representing reimbursement for attorneys’ fees in the amount of $15,831.50
        and costs in the amount of $1,167.80, in the form of a check made payable jointly to
        petitioner and petitioner’s counsel, Richard Gage, Esq.

        The Clerk of the Court is directed to enter judgment in accordance with this Decision.5

        IT IS SO ORDERED.

                                                          s/ Mindy Michaels Roth
                                                          Mindy Michaels Roth
                                                          Special Master




3
  I have made no determination as to appropriate hourly rates in this matter; I merely conclude that the
total sums requested seem reasonable and appropriate.
4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir. 1991).
5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                     2
